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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                  PITTSBURGH

NEVILLE CHEMICAL COMPANY,                       )
                                                )
               Plaintiff,                       )            2:17-CV-00334-CRE
                                                )
        vs.                                     )
                                                )
TIG INSURANCE COMPANY,                          )
                                                )
               Defendant,                       )
                                                )
                                                )

                                        ORDER

       AND NOW, this 17th day of March, 2021,

       Upon consideration of Neville’s motion for summary judgment (ECF No. 52); and TIG’s

motion for summary judgment (ECF No. 56),

       IT IS HEREBY ORDERED that Neville’s motion for summary judgment is DENIED and

TIG’s motion for summary judgment is GRANTED. Judgment will be entered accordingly.



                                                       By the Court:

                                                       s/ Cynthia Reed Eddy
                                                       Cynthia Reed Eddy
                                                       Chief United States Magistrate Judge

cc: all registered counsel via CM-ECF




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